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                               Exhibit 65



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Program Memorandum                                                     Department of Health and
                                                                       Human Services (DHHS)
Intermediaries/Carriers                                                HEALTH CARE FINANCING
                                                                       ADMINISTRATION (HCFA)
Transmittal AB-00-86                                                    Date: SEPTEMBER 8, 2000

                                                                             CHANGE REQUEST 1232

SUBJECT:        An Additional Source of Average Wholesale Price Data in Pricing Drugs and
                Biologicals Covered by the Medicare Program


The purpose of this Program Memorandum (PM) is to provide you with an alternative source of average
wholesale price data (attached) for some drugs and biologicals covered by the Medicare program. The
first attachment includes data for 32 drugs that you are to consider in determining the Medicare payment
allowances for your January 2001 quarterly update. The second attachment includes data for 14 oncology
drugs and 3 clotting factors that are not to be implemented in that same quarterly update.

The payment allowance for drugs and biologicals covered by the Medicare program is described in PM
AB-99-63. That PM states that drugs and biologicals not paid on a cost or prospective payment basis are
paid based on the lower of the billed charge or 95 percent of the average wholesale price reflected in
sources such as the Red Book, Blue Book, or Medispan. Examples of drugs that are paid on this basis are
drugs furnished incident to a physician’s service, drugs furnished by pharmacies under the durable medical
equipment benefit, covered oral anti-cancer drugs, and drugs furnished by independent dialysis facilities that
are not included in the end stage renal disease composite rate payment. While the Blue Book is no longer
available, another publication, Price Alert, is available. Also, there are electronic versions of the same data.

The data in the attachments have come from the United States Department of Justice (DOJ) and the
National Association of Medicaid Fraud Control Units (NAMFCU). They are an alternative source of
average wholesale price data for certain drugs, which has recently become available to HCFA. These data
have been compiled for about 400 national drug codes (NDC) representing about 50 different chemical
compounds. These data are from wholesalers’ catalogs that list the prices at which the wholesaler sells the
respective products. The DOJ has indicated that these are more accurate wholesale prices for these drugs.
 Furthermore, the DOJ has indicated that because purchasers often receive further discounts below the
advertised wholesale catalog price, either from a wholesaler or from the drug manufacturer directly, actual
acquisition costs may be lower. The DOJ indicates that some physicians and suppliers obtain drugs at
prices lower than the wholesale catalog prices through Group Purchasing Organizations (GPO). For
example, the DOJ data from wholesale catalogs indicates an average wholesale price of $22 for one
albuterol sulfate NDC which is substantially less than the $73 average wholesale price in the Redbook and
compares to $15 from a GPO. These data are generally consistent with findings from OIG reports.

There has been correspondence with some members of congress on this subject. Under separate cover,
we will send you a letter from the Administrator to Members of Congress, which places in context the issue
of pricing drugs covered under the existing Medicare drug benefit and this new source.

DOJ and NAMFCU have provided these data to First Data Bank, a company that compiles average
wholesale prices for most State Medicaid programs. On May 1, 2000, First Data Bank provided these
new average wholesale prices to State Medicaid programs. Some States have already implemented these
new average wholesale prices while others have not.



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You are to consider these alternative wholesale prices as another source in determining your January, 2001
quarterly update for the 32 drugs (Attachment 1), as per PM AB-99-63. These drugs account for 75
percent of Medicare spending and 70 percent of savings (based on DOJ data) for the drugs on the
complete DOJ list. However, we have some concern about access to care related to the DOJ’s wholesale
prices for 14 chemotherapy drugs and 3 clotting factors (Attachment 2), due to other Medicare payment
policies associated with the provision of these drugs for the treatment of cancer and hemophilia. Therefore,
you are not to consider at this time using the DOJ data for these drugs (Attachment 2) to establish your
Medicare allowances while we further review these concerns and develop alternative policies. For the
drugs shown in Attachment 2, use your usual source of average wholesale prices in your next quarterly
update.

The data in these attachments may not represent all of the NDCs for a drug or biological in applying the
pricing rules described in PM AB-99-63; if you decide to use these data, then you must use solely these
data as the source of average wholesale prices in establishing your Medicare payment allowances for the
drugs in Attachment 1.

You are to report by October 15, 2000, your usual source as well as the source you intend to use for the
January 2001 updates. Also, you are to provide a list of what the updates would be for the source(s) you
identify as usual and for January 2001 updates, and the percentage difference, if any, for all the drugs listed
in Attachment 1 and 2 (source for drugs in Attachment 2 can not be DOJ data). You are to submit these
reports electronically to a special mailbox being established for this purpose. The e-mail address for this
mailbox is DOJAWP@hcfa.gov.

For the drugs in Attachment 1, we may provide additional guidance by the end of October, which could
affect your January 2001 updates. We will provide guidance in subsequent correspondence that concerns
your future drug updates, and on Medicare allowances for the drugs listed in Attachment 2 as any necessary
adjustments to other payments related to the provision of these drugs are being carried out. We will also
convey how we plan to adjust Medicare allowances under the outpatient prospective system for drugs that
are both subject to the AWP rules and paid on a passthrough basis.

The enclosed data show a price for each NDC that is an average of the wholesale prices in the catalogs of
the various wholesale companies that are also shown. The DOJ indicates that these wholesalers have toll-
free numbers (included in Attachment 1) and the capacity to supply drugs via overnight delivery to any place
in the country. If you decide to use these data and if a physician or supplier indicates that they cannot obtain
one of these products for the average wholesale price in this new source, you may explain to the physician
or supplier that one or more of the wholesale companies in the attachment have indicated to the DOJ that
they supply these drugs at or below these prices. You may give the physician or supplier the name and toll-
free number of the wholesaler(s). You may also give the name and telephone number of the manufacturer
of the drug (available in the Red Book) as DOJ has indicated that manufacturers often supply the drugs
directly. Some of the manufacturers also have web pages on the Internet. Physicians or suppliers who are
members of a GPO might also obtain these drugs through that organization at or below these average
wholesale prices. However, you should not imply in any way that the physician or supplier is required to
change their procedure for obtaining drugs. Further, you should indicate that you are not advocating the
use of these sources and do not assume any liability for the choice of source by the physician or supplier.

Sections 1842(o) and 1833(a)(1)(S) of the Social Security Act (the Act) require the Medicare program
to set payment allowances for drugs and biologicals at the lower of the actual amount billed or 95 percent
of the average wholesale price. The attached data represent another source of average wholesale prices
for the products on the attached list. Therefore, use of this new source of average wholesale prices in
Attachment 1 is not an inherent reasonableness adjustment under paragraphs (8) and (9) of section 1842(b)
of the Act.
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The procedure for processing intermediary claims has not changed. As described in PM AB-97-25, all
carriers will continue to furnish free of charge their drug payment allowance updates for all drugs and
biologicals directly to the fiscal intermediaries in their jurisdiction. Carriers should contact the fiscal
intermediaries to determine the preferred method of transmission. Carriers are to send this information to
all fiscal intermediaries with whom they routinely deal. To further clarify, fiscal intermediaries must use each
carrier’s drug payment allowances for claims submitted under that carrier’s jurisdiction.



Attachments (3)


The effective date for this (PM) is September 8, 2000.

The implementation date for this PM is September 8, 2000.

These instructions should be implemented within your current operating budget.

This PM may be discarded September 1, 2001.

If you have any questions contact Robert Niemann at 410-786-4531.
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Attachment 1 – If you decide to use these data, use solely these data to
update the HCPCS billing codes that correspond to the drugs on this list.

        Drug Name              Prod/Mfr               Measurements             NDC          Wholesaler         Average
                                                                                                               Wholesale
                                                                                                                 (AWP)
     Acetylcysteine    (Abbott Hosp.)/SOL, IH          10%, 30 ml, 3s      00074-3307-03        MK               $21.90
     Acetylcysteine    (Abbott Hosp.)/SOL, IH       20%, 4 ml, 30 ml, 3s   00074-3308-03      MK, BB             $18.75
     Acetylcysteine          (Dey)/SOL, IH             10%, 4ml, 12s       49502-0181-04        MK               $25.80
     Acetylcysteine          (Dey)/SOL, IH             10%, 10 ml, 3s      49502-0181-10        MK               $15.27
     Acetylcysteine          (Dey)/SOL, IH             10%, 30 ml, 3s      49502-0181-30        MK               $41.97
     Acetylcysteine          (Dey)/SOL, IH            20%, 100 ml, ea      49502-0182-00        MK               $75.90
     Acetylcysteine          (Dey)/SOL, IH             20%, 4 ml, 12s      49502-0182-04        MK               $31.08
     Acetylcysteine          (Dey)/SOL, IH             20%, 10 ml, 3s      49502-0182-10        MK               $18.57
     Acetylcysteine          (Dey)/SOL, IH             20%, 30 ml, 3s      49502-0182-30        MK               $50.64
     Acetylcysteine   (Faulding)/SOL, IH (VIAL)        10%, 4 ml, 10s      61703-0203-04       MK,BB             $13.50
     Acetylcysteine   (Faulding)/SOL, IH (VIAL)       10%, 30 ml, 10s      61703-0203-31         BB              $91.00
     Acetylcysteine   (Faulding)/SOL, IH (VIAL)        10%, 4 ml, 10s      61703-0204-04      MK, BB             $19.50
     Acetylcysteine   (Faulding)/SOL, IH (VIAL)       10%, 30 ml, 10s      61703-0204-31        MK               $91.00
   Acyclovir Sodium (Abbott Hosp.)/(Vial, Fliptop)      500 mg, 10s        00074-4427-01      BB, MK            $349.05
   Acyclovir Sodium (Abbott Hosp.)/(Vial, Fliptop)     1000 mg, 10s        00074-4452-01      BB, MK            $700.10
   Acyclovir Sodium      (App)/INJ, IJ (Vial)        50 mg/ml, 10 ml       63323-0325-10        MK               $15.00
   Acyclovir Sodium      (App)/INJ, IJ (Vial)        50 mg/ml, 20 ml       63323-0325-20        MK               $28.00
   Acyclovir Sodium            (App)/PDI              15s, 500 mg, ea      63323-0105-10        MK               $37.15
   Acyclovir Sodium            (App)/PDI             15s, 1000 mg, ea      63323-0105-20        MK               $75.13
   Acyclovir Sodium   (Bedford)/PDI, IJ (S.D.V.)        500 mg, 10s        55390-0612-10     BB, ASD, FI        $207.00
   Acyclovir Sodium   (Bedford)/PDI, IJ (S.D.V.)       1000 mg, 10s        55390-0613-20   BB, ASD, FI, OS      $401.75
   Acyclovir Sodium       (Faulding)/PDI, IJ            500 mg, 10s        61703-0311-20         FI              $89.00
   Acyclovir Sodium       (Faulding)/PDI, IJ           1000 mg, 10s        61703-0311-43         FI             $179.50
   Acyclovir Sodium    (Fujisawa/APP)/PDI, IJ           500 mg, 10s        63323-0105-10      BB, MK            $371.50
                                 (VIAL)
   Acyclovir Sodium    (Fujisawa/APP)/PDI, IJ          1000 mg, 10s        63323-0110-20      BB, MK            $751.80
                                 (VIAL)
   Acyclovir Sodium    (Fujisawa/APP)/PDI, IJ           500 mg, 10s        63323-0325-10         BB             $150.00
                                 (VIAL)
   Acyclovir Sodium    (Fujisawa/APP)/PDI, IJ          1000 mg, 10s        63323-0325-20      BB, MK            $280.00
                                 (VIAL)
   Acyclovir Sodium    (Gensia)/PDI, IJ (VIAL)          500 mg, 10s        00703-8104-03         BB             $100.00
   Acyclovir Sodium    (Gensia)/PDI, IJ (VIAL)         1000 mg, 10s        00703-8105-03         BB             $186.00
    Albuterol Sulfate        (Dey)/SOL, IH              0.5%, 20 ml        49502-0196-20      BB, MK             $5.91
    Albuterol Sulfate        (Dey)/SOL, IH         0.083%, 3 ml, 25s, UD   49502-0697-03      BB, MK             $9.17
    Albuterol Sulfate        (Dey)/SOL, IH         0.083%, 3ml, 30s, UD    49502-0697-33      BB, MK             $11.01
    Albuterol Sulfate        (Dey)/SOL, IH         0.083%, 3ml, 60s, UD    49502-0697-60      BB, MK             $22.01
    Albuterol Sulfate      (Schein)/SOL, IH             0.5%, 20 ml        00364-2530-55      BB, MK             $7.62
    Albuterol Sulfate     (Warrick)/SOL, IH          0.083%, 3ml, 60s      59930-1500-06   BB, MK, AND           $21.92
    Albuterol Sulfate     (Warrick)/SOL, IH        0.083%, 3ml, 25s, UD    59930-1500-08   BB, MK, AND           $9.16
    Albuterol Sulfate     (Warrick)/SOL, IH             0.5%, 20 ml        59930-1515-04      BB, MK             $5.65
   Amikacin Sulfate (Abbott Hosp.)/(Vial, Fliptop) 50 mg/ml, 2 ml, 10s     00074-1955-01         BB             $125.00
   Amikacin Sulfate (Abbott Hosp.)/(Vial, Fliptop) 250 mg/ml, 2 ml, 10s    00074-1956-01      BB, MK            $150.00
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                                                                                                         5
Amikacin Sulfate (Abbott Hosp.)/(Vial, Fliptop)     250 mg/ml, 4 ml, 10s 00074-1957-01       BB, MK          $320.00
Amikacin Sulfate (Apothecon) Amikin/INJ, IJ           250 mg/ml, 2 ml    00015-3020-20       FI, MK           $17.31
                              (Vial)
Amikacin Sulfate (Apothecon) Amikin/INJ, IJ           250 mg/ml, 4 ml      00015-3023-20     FI, MK           $34.49
                              (Vial)
Amikacin Sulfate (Bedford)/INJ, IJ (S.D.V., P.F.)   250 mg/ml, 2 ml, 10s 55390-0226-02      BB, MK, FI        $65.33
Amikacin Sulfate (Bedford)/INJ, IJ (S.D.V., P.F.)   250 mg/ml, 4 ml, 10s 55390-0226-04      BB, MK, FI       $125.33
Amikacin Sulfate   (Faulding Pharm.)/INJ, IJ        50 mg/ml, 2 ml, 10s 61703-0201-07          MK            $295.00
                             (VIAL)
Amikacin Sulfate   (Faulding Pharm.)/INJ, IJ        250 mg/ml, 4 ml, 10s 61703-0202-04       BB, MK          $890.00
                             (VIAL)
Amikacin Sulfate   (Faulding Pharm.)/INJ, IJ        250 mg/ml, 2 ml, 10s 61703-0202-07       BB, MK          $450.00
                             (VIAL)
Amikacin Sulfate   (Faulding Pharm.)/INJ, IJ        250 mg/ml, 3 ml, 10s 61703-0202-08         MK            $600.00
                             (VIAL)
Amikacin Sulfate    (Gensia)/INJ, IJ (S.D.V.)       50 mg/ml, 2 ml, 10s    00703-9022-03     BB, OS           $72.68
Amikacin Sulfate    (Gensia)/INJ, IJ (S.D.V.)       250 mg/ml, 2 ml, 10s   00703-9032-03     BB, MK           $70.00
Amikacin Sulfate     (Gensia)/INJ, IJ (Vial)        250 mg/ml, 4 ml, 10s   00703-9040-03       BB            $140.00
 Amphotercin B (Apothecon) Fungizone/PDI,                50 mg, ea         00003-0437-30        FI            $6.20
                                IJ
 Amphotercin B      (Gensia)/PDI, IJ (S.D.V.)           50 mg, ea          00703-9785-01       BB             $9.80
 Amphotercin B        (Pharmacia/Upjohn)                50 mg, ea          00013-1405-44       ASD            $16.00
                        Amphocin/PDI, IJ
      Calcitriol (Abbott Hosp) Calcijex/INJ,        1mcg/ml, 1ml, 100s     00074-1200-01        FI           $1,079.00
                           IJ (AMP)
      Calcitriol (Abbott Hosp) Calcijex/INJ,        2 msg/ml, 1 ml, 100s   00074-1210-01        FI           $2,009.35
                           IJ (AMP)
    Cimetidine       (Abbott Hosp.)/INJ, IJ         300 mg/50 ml, 50 ml, 00074-7447-16         MK            $120.00
 Hydrochloride                                             48s
     Cimetidine (Abbott Hosp.)/INJ, IJ (ADD-        150 mg/ml, 2 ml, 25s 00074-7446-02       MK, BB           $35.00
   Hydrochloride        VANTAGE)
     Cimetidine (Abbott Hosp.)/INJ, IJ (VAIL,       150 mg/ml, 2 mg/ml, 00074-7444-01 ASD, BB, MK, OTN,       $11.72
   Hydrochloride         FLIPTOP)                        2 ml, 10s                            FI

     Cimetidine (Abbott Hosp.)/INJ, IJ (VAIL,       150 mg/ml, 8 ml, 10s 00074-7445-01 ASD, BB,  MK, OS       $30.00
   Hydrochloride         FLIPTOP)
    Clindamycin (Abbott Hosp.)/(Vial, Fliptop)      150 mg/ml, 2 ml, 25s 00074-4050-01          FI            $75.35
      Phosphate
    Clindamycin (Abbott Hosp.)/(Vial, Fliptop)      150 mg/ml, 4 ml, 25s 00074-4051-01         BB            $174.00
      Phosphate
    Clindamycin    (Pharmacia/Upjohn)               150 mg/ml, 2 ml, 25s 00009-0870-26       BB, MK           $61.20
      Phosphate       Cleocin/INJ, IJ
    Clindamycin    (Pharmacia/Upjohn)               150 mg/ml, 4 ml, 25s 00009-0775-26       BB, MK          $126.00
      Phosphate       Cleocin/INJ, IJ
    Clindamycin       (Add-Vantage)                 150 mg/ml, 4 ml, 25s 00009-3124-03       BB, MK          $126.00
      Phosphate
    Clindamycin       (Add-Vantage)                 150 mg/ml, 6 ml, 25s 00009-0902-18       BB, MK          $162.00
      Phosphate
    Clindamycin       (Add-Vantage)                 150 mg/ml, 6 ml, 25s 00009-3447-03       BB, MK          $162.00
      Phosphate
    Clindamycin       (Add-Vantage)                 150 mg/ml, 4 ml, 25s 00009-0728-09       BB, MK          $259.20
      Phosphate
Cromolyn Sodium        (Dey)/SOL, IH                10 mg/ml, 2ml, 60s,    49502-0689-02     BB, MK           $23.01
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                                                                                                       6
                                                       UD
Cromolyn Sodium          (Dey)/SOL, IH          10 mg/ml, 2ml, 120s, 49502-0689-12         BB, MK          $45.71
                                                       UD
  Dexamethasone     (Schein)/INJ, IJ (M.D.V.)      8 mg/ml, 5 ml     00364-6699-53            FI           $11.50
         Acetate
  Dexamethasone       (Elkins-Sin)/(M.D.V.)       10 mg/ml, 10 ml      00641-2277-41        FI, OS         $2.65
Sodium Phosphate
  Dexamethasone      (Fujisawa/APP)/INJ, IJ      4 mg/ml, 1 ml ea      00469-1650-00          BB           $0.66
Sodium Phosphate             (VIAL)
  Dexamethasone      (Fujisawa/APP)/INJ, IJ        4 mg/ml, 5 ml       00469-1650-20          BB           $1.67
Sodium Phosphate             (VIAL)
  Dexamethasone      (Fujisawa/APP)/INJ, IJ            30 ml           00469-1650-50          BB           $10.00
Sodium Phosphate             (VIAL)
  Dexamethasone      (Fujisawa/APP)/INJ, IJ        4 mg/ml, 5 ml       63323-0165-05         OTN           $0.90
Sodium Phosphate             (VIAL)
  Dexamethasone      (Fujisawa/APP)/INJ, IJ            30 ml           63323-0165-30          FI           $10.00
Sodium Phosphate             (VIAL)
  Dexamethasone      (Fujisawa/APP)/INJ, IJ            30 ml           63323-0165-01          BB           $0.66
Sodium Phosphate         (VIAL), (M.D.V.)
  Dexamethasone     (Schein)/INJ, IJ (M.D.V)     4 mg/ml, 5 ml ea      00364-6681-32          BB           $1.08
Sodium Phosphate
        Dextrose     (Abbott Hosp.)/(ADD-            5%, 50 ml         00074-7100-13        BB, TRI        $3.22
                      VANTAGE, LIFECARE)
        Dextrose     (Abbott Hosp.)/(ADD-           5%, 250 ml         00074-7100-02         TRI           $4.12
                           VANTAGE)
        Dextrose     (Abbott Hosp.)/(ADD-           5%, 100 ml         00074-7100-23         TRI           $3.22
                      VANTAGE, LIFECARE)
        Dextrose   (Abbott Hosp.)/(LIFECARE)           250 ml          00074-1522-02        TRI, FI        $3.63
        Dextrose   (Abbott Hosp.)/(LIFECARE)         5%, 150 ml        00074-7922-61        BB, TRI        $1.46
        Dextrose   (Abbott Hosp.)/(LIFECARE)          5%, 50 ml        00074-7923-36        BB, TRI        $1.45
        Dextrose   (Abbott Hosp.)/(LIFECARE)         5%, 100 ml        00074-7923-37         ASD           $1.45
        Dextrose             (Abbott            (1000 ml container),   00074-1518-05   BB, FI, OTN, TRI,   $14.54
                   Hosp.)/(LIFECARE/PLASTIC)           1000 ml                                OS

        Dextrose          (Abbott Hosp.)        (1000 ml container),   00074-1519-05   ASD, OS, FI, OTN,   $13.71
                      /(LIFECARE/PLASTIC)              1000 ml                               TRI

        Dextrose          (Abbott Hosp.)             5%, 500 ml        00074-1522-03   ASD, OS, FI, OTN,   $3.87
                      /(LIFECARE/PLASTIC)                                                    TRI

        Dextrose          (Abbott Hosp.)        (1000 ml container), 00074-1536-03            BB           $9.19
                      /(LIFECARE/PLASTIC)             500 ml
        Dextrose          (Abbott Hosp.)        (1000 ml container), 00074-5645-25         BB, AHT         $3.69
                      /(LIFECARE/PLASTIC)           50%, 500 ml
        Dextrose          (Abbott Hosp.)        (1000 ml container), 00074-5647-25        BB, OS, FI       $4.26
                      /(LIFECARE/PLASTIC)           70%, 500 ml
        Dextrose          (Abbott Hosp.)        (Bulk Package), 70%, 00074-7120-07            BB           $13.60
                      /(LIFECARE/PLASTIC)              2000 ml
        Dextrose          (Abbott Hosp.)        (1000 ml container), 00074-7918-19            BB           $8.81
                      /(LIFECARE/PLASTIC)              500 ml
        Dextrose          (Abbott Hosp.)              5%, 250 ml     00074-7922-02            BB           $1.54
                      /(LIFECARE/PLASTIC)
        Dextrose          (Abbott Hosp.)            5%, 500 ml         00074-7922-03        BB, TRI        $1.61
                      /(LIFECARE/PLASTIC)
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                                                                                                 7
     Dextrose         (Abbott Hosp.)            5%, 1000 ml     00074-7922-09         BB, TRI         $2.34
                  /(LIFECARE/PLASTIC)
     Dextrose         (Abbott Hosp.)        (2000 ml container), 00074-7936-17   BB, FI, OTN, TRI,    $11.24
                  /(LIFECARE/PLASTIC)           50%, 1000 ml                            OS

     Dextrose         (Abbott Hosp.)        (1000 ml container), 00074-7936-19   ASD, OTN, FI, TRI,   $7.09
                  /(LIFECARE/PLASTIC)            50%, 500 ml                           OS

     Dextrose     (Abbott Hosp.)/INJ, IJ,         5%, 50 ml      00074-1523-01   BB, OTN, FI, TRI,    $3.91
                  (50/150 ML PART FILL)                                                OS

     Dextrose    (Baxter)/ (QUAD PACK,          5%, 100ml       00338-0017-18         BB, TRI         $1.55
                       MINI-BAG)
     Dextrose (Baxter)/(BULK PACKAGE)          50%, 2000 ml     00338-0031-06         BB, TRI         $21.60
     Dextrose (Baxter)/(BULK PACKAGE)          70%, 2000 ml     00338-0719-06        ASD, OS          $13.31
     Dextrose (Baxter)/(GLASS FULL FILL)       70%, 1000 ml     00338-0348-04         TRI, FI         $6.20
     Dextrose (Baxter)/(GLASS UNDERFILL)        70%, 500 ml     00338-0032-13           TRI           $8.16
     Dextrose (Baxter)/(MINI-BAG PLUS)           5%, 50 ml      00338-0551-11           TRI           $3.17
     Dextrose (Baxter)/(MULTI-PACK, MINI-        5%, 50 ml      00338-0017-31           TRI           $1.80
                          BAG)
     Dextrose (Baxter)/(MULTI-PACK, MINI-       5%, 100ml       00338-0017-38           TRI           $1.55
                          BAG)
     Dextrose (Baxter)/(QUAD PACK, MINI-         5%, 25 ml      00338-0017-10           TRI           $1.80
                          BAG)
     Dextrose (Baxter)/(QUAD PACK, MINI-         5%, 50 ml      00338-0017-11         TRI, FI         $1.55
                          BAG)
     Dextrose    (Baxter)/(SINGLE PACK            250 ml        00338-0016-02           TRI           $3.39
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK            150 ml        00338-0017-01         FI, TRI         $1.50
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK            250 ml        00338-0017-02         FI, TRI         $1.50
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK            500ml         00338-0017-03         BB, TRI         $1.47
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK           1000 ml        00338-0017-04         FI, TRI         $2.11
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK          5%, 100ml       00338-0017-48         FI, TRI         $1.55
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK          10%, 250 ml     00338-0023-02           BB            $1.69
                       MINI-BAG)
     Dextrose    (Baxter)/(SINGLE PACK           5%, 50 ml      00338-0017-41         TRI, FI         $2.25
                     MINI-BAG)
     Dextrose (McGaw)/(1000 ML GLASS            50%, 500 ml     00264-1280-55           TRI           $4.07
                      W/ STOPPER)
     Dextrose       (McGaw)/(EXCEL)             5%, 1000 ml     00264-7510-00 TRI, OTN, ASD, OS       $2.20

     Dextrose      (McGaw)/(EXCEL)                500 ml        00264-7510-10 TRI, OTN, ASD, /OS      $1.69

     Dextrose      (McGaw)/(EXCEL)              5%, 250 ml      00264-7510-20 TRI, OTN, ASD, OS       $1.59

     Dextrose     (McGaw)/(EXCEL)              10%, 1000 ml     00264-7520-00           TRI           $1.99
     Dextrose     (McGaw)/(GLASS                 500 ml         00264-1290-50           TRI           $7.15
                 CONTAINER, 1000 ML)
     Dextrose     (McGaw)/(GLASS                70%, 500 ml     00264-1292-55           TRI           $5.28
                 CONTAINER, 1000 ML)
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                                                                                                        8
          Dextrose    (McGaw)/(GLASS W/ AIR        70%, 2000 ml       00264-1129-50          TRI            $18.35
                               TUBE)
          Dextrose   (McGaw)/(GLASS W/SOLID        70%, 1000 ml       00264-1290-55          TRI            $6.62
                             STOPPER
          Dextrose   (McGaw)/(GLASS W/SOLID        50%, 500 ml        00264-1281-55          TRI            $2.76
                             STOPPER)
          Dextrose      (McGaw)/(W/SOLID           50%, 2000 ml       00264-1285-55          TRI            $11.32
                          STOPPER, GLASS)
          Dextrose    (McGaw)/INJ, IJ (100 ML         50 ml           00264-1510-31       TRI, OTN          $1.61
                               PAB)
          Dextrose    (McGaw)/INJ, IJ (150 ML       5%, 100 ml        00264-1510-32       TRI, OTN          $1.62
                               PAB)
Dextrose with Sodium       (Abbott Hosp.)        5%-0.45%, 250 ml     00074-7926-02      TRI, FI, OS        $1.80
             Chloride
Dextrose with Sodium     (Abbott Hosp.)               500 ml          00074-7926-03   TRI, OTN, ASD, FI,    $1.96
             Chloride                                                                        OS

Dextrose with Sodium     (Abbott Hosp.)              1000 ml          00074-7926-09   TRI, OTN, ASD, FI,    $2.66
             Chloride                                                                        OS

Dextrose with Sodium     (Abbott Hosp.)          5%-0.9%, 250 ml      00074-7941-02          TRI            $1.93
             Chloride
Dextrose with Sodium     (Abbott Hosp.)               500 ml          00074-7941-03   TRI, OTN, ASD, FI,    $1.85
             Chloride                                                                        OS

Dextrose with Sodium     (Abbott Hosp.)              1000 ml          00074-7941-09   BB, OTN, ASD, FI,     $2.24
             Chloride                                                                       OS

Dextrose with Sodium         (Baxter)            5%-0.45%, 250 ml     00338-0085-02        TRI, FI          $2.47
             Chloride
Dextrose with Sodium         (Baxter)                 500 ml          00338-0085-03        TRI, FI          $1.90
             Chloride
Dextrose with Sodium         (Baxter)                1000 ml          00338-0085-04          FI             $2.25
             Chloride
Dextrose with Sodium         (Baxter)            5%-0.9%, 250 ml      00338-0089-02          TRI            $2.93
             Chloride
Dextrose with Sodium         (Baxter)                 500 ml          00338-0089-03          FI             $2.00
             Chloride
Dextrose with Sodium         (Baxter)                1000 ml          00338-0089-04          FI             $2.25
             Chloride
Dextrose with Sodium        (McGaw)                  1000 ml          00264-7610-00        TRI, FI          $2.10
             Chloride
Dextrose with Sodium        (McGaw)                   500 ml          00264-7610-10        TRI, FI          $1.81
             Chloride
Dextrose with Sodium        (McGaw)              5%-0.9%, 250 ml      00264-7610-20          TRI            $1.78
             Chloride
Dextrose with Sodium        (McGaw)                  1000 ml          00264-7612-00      TRI, FI, ASD       $1.85
             Chloride
Dextrose with Sodium        (McGaw)                   500 ml          00264-7612-10        TRI, FI          $1.85
             Chloride
Dextrose with Sodium        (McGaw)              5%-0.45%, 250 ml     00264-7612-20        TRI, FI          $1.89
             Chloride
          Diazepam (Abbott Hosp.)/(CARPUJECT    5 mg/ml,2 ml, ea C-   00074-1273-32          BB             $2.03
                           LUER LOCK)                   IV
         Diazepam (Abbott Hosp.)/(CARPUJECT,    5 mg/ml, 2ml, ea C-   00074-1273-02         BB, FI          $2.12
                         22GX1-1/4")                    IV
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                                                                                                             9
        Diazepam       (Abbott Hosp.)/(VIAL,        5 mg/ml, 10 ml, ea,   00074-3213-01        OTN, MK            $2.50
                            FLIPTOP)                      C-IV
        Diazepam (Abbott Hosp.)/INJ, IJ (AMP)       5 mg/ml, 2ml, EA C-   00074-3210-32           BB              $1.49
                                                            IV
        Diazepam       (Schein)/INJ, IJ (S.D.V.)    5 mg/ml, 10 ml, ea,   00364-0825-54          ASD              $2.50
                              (M.D.V.)                    C-IV
       Furosemide (Abbott Hosp.)/INJ, IJ (VIAL,     10 mg/ml, 2 ml 25s    00074-6102-02      ASD, BB, MK          $14.38
                             PF, FLIPTOP)
       Furosemide (Abbott Hosp.)/INJ, IJ (VIAL,     10 mg/ml, 4 ml 25s    00074-6102-04 OS, ASD, OTN, BB,         $20.28
                             PF, FLIPTOP)                                                        MK

Gentamicin Sulfate (Abbott Hosp.)/(Vial, Fliptop)     40 mg/ml, 2 ml      00074-1207-03     OTN, BB, OS, FI       $0.51
Gentamicin Sulfate (Fujisawa)/(Bulk Package)         40 mg/ml, 50 ml      00469-1000-60        MK, BB             $7.00
Gentamicin Sulfate (Fujisawa)/(Bulk Package)         40 mg/ml, 50 ml      63323-0010-50        MK, BB             $7.00
Gentamicin Sulfate (Fujisawa)/INJ, IJ (M.D.V.)       40 mg/ml, 20 ml      00469-1000-40          OTN              $5.40
Gentamicin Sulfate (Fujisawa)/INJ, IJ (M.D.V.)       40 mg/ml, 20 ml      63323-0010-20        BB, MK             $3.50
Gentamicin Sulfate        (Schein)/(M.D.V.)          40 mg/ml, 20 ml      00364-6739-55           BB              $2.63
Gentamicin Sulfate     (Schein)/INJ, IJ (S.D.V.)      40 mg/ml, 2 ml      00364-6739-48           BB              $1.18
Heparin Lock Flush (Abbott Hosp.)/INJ, IJ (VIAL,    10 u/ml, 10 ml 25s    00074-1151-70        OS, OTN            $13.60
                               FLIPTOP)
Heparin Lock Flush (Abbott Hosp.)/INJ, IJ (VIAL,    100 u/ml, 10 ml 25s   00074-1152-70    ASD, OS, FI, OTN       $13.43
                               FLIPTOP)
Heparin Lock Flush (Abbott Hosp.)/INJ, IJ (VIAL,        30 ml, 25s        00074-1152-78     ASD, OS, OTN          $21.07
                               FLIPTOP)
    Hydrocortisone (Pharmacia/Upjohn) Solu-             100 mg, ea        00009-0900-13    BB, MK, ASD, BB,       $1.55
 Sodium Succinate       Cortef/ (ACT-O-VIAL)                                                    FI, OS

    Hydrocortisone (Pharmacia/Upjohn) Solu-             250 mg, ea        00009-0909-08     ASD, FI, BB, MK       $2.65
 Sodium Succinate       Cortef/ (ACT-O-VIAL)
    Hydrocortisone (Pharmacia/Upjohn) Solu-             500 mg, ea        00009-0912-05    ASD, MK, BB, OS,       $5.89
 Sodium Succinate       Cortef/ (ACT-O-VIAL)                                                     FI

    Hydrocortisone (Pharmacia/Upjohn) Solu-            1000 mg, ea        0009-0920-03          FI, MK            $11.57
 Sodium Succinate       Cortef/ (ACT-O-VIAL)
  Immune Globulin       (Alpha Therapeutics)        100 mg/ml, 100 ml     49669-1623-01           FI             $780.00
                    Venoglobulin-S 10%/INJ, IJ
                    (10 gm/Vial, w/Admin. Set)
  Immune Globulin       (Alpha Therapeutics)        100 mg/ml, 200 ml     49669-1624-01           FI             $1,560.00
                    Venoglobulin-S 10%/INJ, IJ
                    (20 gm/Vial, w/Admin. Set)
  Immune Globulin       (Alpha Therapeutics)         100 mg/ml, 50 ml     49669-1622-01           FI             $390.00
                    Venoglobulin-S 10%/INJ, IJ
                     (5 gm/Vial, w/Admin. Set)
  Immune Globulin (Baxter Hyland/Immuno)                2.5 gm, ea        00944-2620-02           FI             $175.00
                      Gammagard S/D/PDI, IJ
  Immune Globulin (Baxter Hyland/Immuno)                5.0 gm, ea        00944-2620-03           FI             $350.00
                      Gammagard S/D/PDI, IJ
  Immune Globulin (Baxter Hyland/Immuno)               10.0 gm, ea        00944-2620-04           FI             $700.00
                      Gammagard S/D/PDI, IJ
  Immune Globulin        (Bayer) Gamimune           100 mg/ml, 100 ml     00026-0648-71 FI, ASD, OS, Bayer       $727.50
                    N10%/INJ, KJ (10 gm/Vial)                                                Wholesale

  Immune Globulin        (Bayer) Gamimune           100 mg/ml, 200 ml     00026-0648-24      FI, OS, Bayer       $1,503.33
                    N10%/INJ, KJ (20 gm/Vial)                                                 Wholesale

  Immune Globulin        (Bayer) Gamimune            100 mg/ml, 50 ml     00026-0648-20 FI, ASD, OS, Bayer       $362.50
                     N10%/INJ, KJ (5 gm/Vial)                                                Wholesale
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   Immune Globulin      (Centeon) Gammar-               5 gm, ea         00053-7486-05 Health Coalition,     $296.67
                      P.I.V./PDI, IJ (w/diluent)                                             ASD, OS

   Immune Globulin      (Centeon) Gammar-              10 gm, ea         00053-7486-10 Health Coalition,     $593.33
                      P.I.V./PDI, IJ (w/diluent)                                             ASD, OS

       Iron Dextran   (Schein)/INJ, IJ (S.D.V.)      50 mg/ml, 2 ml      00364-3012-47    ASD, OS, FI, OTN    $24.69

        Lorazepam   (Abbott Hosp.)/(HYPAK          2 mg/ml, 1ml, C-IV    00074-6776-01          BB            $3.60
                            SYRINGE)
       Lorazepam     (Abbott Hosp.)/(VIAL)         4 mg/ml, 1ml, C-IV    00074-1539-01          MK            $3.80
       Lorazepam     (Abbott Hosp.)/(VIAL)         4 mg/ml, 10ml, C-IV   00074-1539-10          MK            $30.00
       Lorazepam     (Abbott Hosp.)/(VIAL)         2 mg/ml, 10ml, C-IV   00074-1985-10          BB            $25.83
       Lorazepam        (Abbott Hosp.)/            2 mg/ml, 1ml, C-IV    00074-6778-01         BB, FI         $2.98
                         (VIAL,FLIPTOP)
       Lorazepam        (Abbott Hosp.)/            4 mg/ml, 1ml, C-IV    00074-6779-01          BB            $3.80
                         (VIAL,FLIPTOP)
       Lorazepam        (Abbott Hosp.)/            2 mg/ml, 10ml, C-IV   00074-6780-01     ASD, OTN, FI       $24.42
                         (VIAL,FLIPTOP)
       Lorazepam        (Abbott Hosp.)/            4 mg/ml, 10ml, C-IV   00074-6781-01         BB, FI         $28.75
                         (VIAL,FLIPTOP)
       Lorazepam (Abbott Hosp.)/INJ, IJ (VIAL)     2 mg/ml, 1ml, C-IV    00074-1985-01          MK            $3.00
       Lorazepam        (Wyeth-Ayerst)             4 mg/ml, 10ml, C-IV   00008-0570-01           FI           $48.00
                        Ativan/(M.D.V.)
       Lorazepam        (Wyeth-Ayerst)             2 mg/ml, 10ml, C-IV   00008-0581-01           FI           $29.50
                        Ativan/(M.D.V.)
       Lorazepam        (Wyeth-Ayerst)             2 mg/ml, 1ml, C-IV    00008-0581-04           FI           $8.85
                         Ativan/(S.D.V.)
           Lupron    (Tap) Lupron Depot/(3            22.5 mg, ea        00300-3336-01    ASD, FI, OTN, OS   $1,447.60
                       Month Formulation)
           Lupron    (Tap) Lupron Depot/(3            11.25 mg, ea       00300-3343-01           FI          $1,149.00
                       Month Formulation)
           Lupron    (Tap) Lupron Depot/(4             30 mg, ea         00300-3673-01      FI, ASD, OS      $1,902.80
                       Month Formulation)
           Lupron (Tap) Lupron Depot/PDI, IJ           7.5 mg, ea        00300-3629-01    ASD, OS, FI, OTN   $482.52
                             (S.D.V.)
           Lupron (Tap) Lupron Depot/PDI, IJ          3.75 mg, ea        00300-3639-01         FI, OS        $406.00
                             (S.D.V.)
   Metaproterenol (Dey)/SOL, IH (SULFATE FREE)     0.6%, 2500 ml, 25s,   49502-0676-03        BB, MK          $11.29
           Sulfate                                         UD
   Metaproterenol (Dey)/SOL, IH (SULFATE FREE)     0.4%, 2500 ml, 25s,   49502-0678-03        BB, MK          $11.29
           Sulfate                                         UD
Methylprednisolone     (Abbott Hosp.) A-               1 gm, ea          00074-5631-08         OTN            $16.75
  Sodium Succinate Methapred/PDI, IJ (UNIVIAL)
Methylprednisolone     (Abbott Hosp.) A-               40 mg, ea         00074-5684-01         OTN            $2.30
  Sodium Succinate Methapred/PDI, IJ (UNIVIAL)
Methylprednisolone     (Abbott Hosp.) A-               125 mg, ea        00074-5685-02         OTN            $3.35
  Sodium Succinate Methapred/PDI, IJ (UNIVIAL)
Methylprednisolone     (Abbott Hosp.) A-               500 mg, ea        00074-5601-44         OTN            $9.40
  Sodium Succinate  Methapred/PDI,IJ (ADD-
                          VANTAGE)
Methylprednisolone (Pharmacia/Upjohn) Solu-            125 mg, ea        00009-0190-09        BB, OS          $2.52
  Sodium Succinate   Medrol/(ACT-O-VIAL)
Methylprednisolone (Pharmacia/Upjohn) Solu-            500 mg, ea        00009-0765-02          BB            $5.51
  Sodium Succinate   Medrol/(ACT-O-VIAL)
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Methylprednisolone (Pharmacia/Upjohn) Solu-         1 gm, ea      00009-3389-01     BB, ASD, FI, OS     $11.39
  Sodium Succinate     Medrol/(ACT-O-VIAL)
Methylprednisolone (Pharmacia/Upjohn) Solu-         1 gm, ea      00009-0698-01       BB, FI, OS        $11.69
  Sodium Succinate         Medrol/(VIAL)
Methylprednisolone (Pharmacia/Upjohn) Solu-        500 mg, ea     00009-0758-01       BB, FI, OS         $6.37
  Sodium Succinate         Medrol/(VIAL)
Methylprednisolone (Pharmacia/Upjohn) Solu-         2 gm, ea      00009-0796-01         BB, FI          $14.41
  Sodium Succinate      Medrol/(W/DILUENT)
Methylprednisolone (Pharmacia/Upjohn) Solu-        500 mg, ea     00009-0887-01          ASD             $6.17
  Sodium Succinate      Medrol/(W/DILUENT)
Methylprednisolone (Pharmacia/Upjohn) Solu-        40 mg, ea      00009-0113-12      ASD, BB, OS         $1.45
  Sodium Succinate Medrol/PDI, IJ (ACT-O-VIAL)
         Mitomycin   (Bedford)/PDI, IJ (S.D.V.)     5 mg, ea      55390-0251-01      FI, OS, ASD         $51.83
         Mitomycin   (Bedford)/PDI, IJ (S.D.V.)    20 mg, ea      55390-0252-01      FI, ASD, OS        $146.67
         Mitomycin        (Faulding)/DI, IJ        20 mg, ea      61703-0306-50        ASD, OS          $134.00
       Pentamidine (Fujisawa) Nebupent/PDR, IH     300 mg, ea     57317-0210-06           FI             $36.00
        Isethionate          (S.D.V., P.F.)
       Pentamidine (Fujisawa) Nebupent/PDR, IH     300 mg, ea     63323-0877-15           FI            $36.00
        Isethionate          (S.D.V., P.F.)
       Pentamidine    (Gensia)/PDI, IJ (S.D.V.)    300 mg, ea     00053-1000-05           FI            $29.00
        Isethionate
   Sodium Chloride (Abbott Hosp.)/(ADD-VANT,       0.9%, 50 ml    00074-7101-13         TRI, BB          $3.22
                           LIFECARE P.F.)
   Sodium Chloride (Abbott Hosp.)/(ADD-VANT,      0.9%, 100 ml    00074-7101-23         TRI, BB          $3.22
                           LIFECARE P.F.)
   Sodium Chloride (Abbott Hosp.)/(ADD-VANT,      0.9%, 250 ml    00074-7101-02         TRI, BB          $4.19
                              LIFECARE)
   Sodium Chloride (Abbott Hosp.)/(LIFECARE)       0.9%, 50 ml    00074-7984-36 TRI, ASD, OS, OTN,       $1.45
                                                                                          FI
   Sodium Chloride   (Abbott Hosp.)/(LIFECARE)    0.9%, 100 ml    00074-7984-37 TRI, ASD, OS, OTN,       $1.45
                                                                                          FI
   Sodium Chloride   (Abbott Hosp.)/(LIFECARE,    0.9%, 500 ml    00074-7983-03     FI, ASD, BB, OS      $1.69
                          PLASTIC CONT)
   Sodium Chloride (Abbott Hosp.)/(LIFECARE,      0.9%, 1000 ml   00074-7983-09     FI, ASD, BB, OS      $2.17
                          PLASTIC CONT)
   Sodium Chloride (Abbott Hosp.)/(LIFECARE,      0.9%, 250 ml    00074-1583-02    TRI, OTN, FI, OS      $1.94
                             PLASTIC)
   Sodium Chloride (Abbott Hosp.)/(LIFECARE,      0.9%, 250 ml    00074-7983-02       FI, ASD, BB        $1.41
                             PLASTIC)
   Sodium Chloride (Abbott Hosp.)/(LIFECARE,      0.9%, 150 ml    00074-7983-61    FI, ASD, OS, OTN      $1.43
                             PLASTIC)
   Sodium Chloride (Baxter)/(MINI-BAG PLUS)        0.9%, 50 ml    00338-0553-11          TRI             $3.32
   Sodium Chloride (Baxter)/(MINI-BAG PLUS)       0.9%, 100 ml    00338-0553-18          TRI             $3.17
   Sodium Chloride (Baxter)/(MULTI PACK, MINI-     0.9%, 50 ml    00338-0049-31         TRI, FI          $1.55
                               BAG)
   Sodium Chloride (Baxter)/(MULTI PACK, MINI-    0.9%, 100 ml    00338-0049-38         TRI, FI          $1.55
                               BAG)
   Sodium Chloride (Baxter)/(QUAD PACK, MINI-      0.9%, 50 ml    00338-0049-11          TRI             $1.80
                              PACK)
   Sodium Chloride (Baxter)/(QUAD PACK, MINI-     0.9%, 100 ml    00338-0049-18          TRI             $1.80
                              PACK)
   Sodium Chloride    (Baxter)/(SINGLE PACK,      0.9%, 150 ml    00338-0049-01         TRI, FI          $1.51
                            MINI-BAG)
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  Sodium Chloride     (Baxter)/(SINGLE PACK,          0.9%, 250 ml       00338-0049-02        TRI, FI          $1.49
                            MINI-BAG)
  Sodium Chloride     (Baxter)/(SINGLE PACK,          0.9%, 500 ml       00338-0049-03        TRI, FI          $1.58
                            MINI-BAG)
  Sodium Chloride     (Baxter)/(SINGLE PACK,         0.9%, 1000 ml       00338-0049-04        TRI, FI          $2.03
                            MINI-BAG)
  Sodium Chloride     (Baxter)/(SINGLE PACK,          0.9%, 50 ml        00338-0049-41         TRI             $1.71
                            MINI-BAG)
  Sodium Chloride     (Baxter)/(SINGLE PACK,          0.9%, 100 ml       00338-0049-48        TRI, FI          $1.55
                            MINI-BAG)
  Sodium Chloride           (McGaw)                      50 ml           00264-1800-31        TRI, FI          $1.49
  Sodium Chloride     (McGaw)/(150 ML PAB)           0.9%, 100 ml        00264-1800-32        TRI, FI          $1.49
  Sodium Chloride       (McGaw)/(EXCEL)              0.9%, 1000 ml       00264-7800-00   TRI, OTN, FI, ASD     $2.19

  Sodium Chloride        (McGaw)/(EXCEL)              0.9%, 500 ml       00264-7800-10   TRI, OTN, FI, ASD     $1.53

  Sodium Chloride        (McGaw)/(EXCEL)              0.9%, 250 ml       00264-7800-20   TRI, OTN, FI, ASD     $1.51

     Testosterone (Pharmacia/Upjohn) Depo-       200 mg/ml, 1 ml, C-III 00009-0417-01        BB, OTN          $11.79
       Cypionate        Testosterone
     Testosterone (Pharmacia/Upjohn) Depo-        200 mg/ml, 10 ml, C-   00009-0417-02       BB, OTN          $24.78
       Cypionate        Testosterone                        III
     Testosterone    (Schein)/INJ, IJ (M.D.V.)    200 mg/ml, 10 ml, C-   00364-6617-54     ASD, MK, FI        $13.39
        Enanthate                                           II
Tobramycin Sulfate     (Abbott Hosp.)/(SRN)          40 mg/ml, 2 ml      00074-3583-01          BB             $5.84
Tobramycin Sulfate (Abbott Hosp.)/(Vial, Bulk)      40 mg/ml, 50 ml      00074-3590-02       BB, MK           $103.64
Tobramycin Sulfate (Abbott Hosp.)/(Vial,.Fliptop)    40 mg/ml, 2 ml      00074-3578-01       BB, MK            $4.99
Tobramycin Sulfate (Abbott Hosp.)/INJ, IJ (Vial      10 mg/ml, 2 ml      00074-3577-01       BB, MK            $2.94
                             Fliptop)
Tobramycin Sulfate   (Gensia)/INJ, IJ (M.D.V.)       40 mg/ml, 2ml       00703-9402-04        FI, MK          $6.98
Tobramycin Sulfate   (Gensia)/INJ, IJ (M.D.V.)      40 mg/ml, 30 ml      00703-9416-01          FI            $36.90
      Vancomycin (Abbott Hosp.)/(BULK VIAL)              5 gm, ea        00074-6509-01      FI, MK, BB        $41.24
    Hydrochloride
      Vancomycin       (Abbott Hosp.)/(VIAL,        500 mg, 10s, ea      00074-4332-01   FI, OTN, MK, BB,      $4.98
    Hydrochloride            FLIPTOP)                                                          OS

      Vancomycin       (Abbott Hosp.)/(VIAL,          1 gm, 10s, ea      00074-6533-01   FI, ASD, OS, MK,      $9.05
    Hydrochloride            FLIPTOP)                                                           BB

      Vancomycin       (Abbott Hosp.)/(VIAL,          1 gm, 10s, ea      00074-6535-01   FI, OTN, MK, BB      $12.17
    Hydrochloride            FLIPTOP)
      Vancomycin (Abbott Hosp.)/PDI, IJ (ADD-       500 mg, 10s, ea      00074-6534-01      FI, MK, BB         $5.09
    Hydrochloride           VANTAGE)
      Vancomycin (Fujisawa) Lyphocin/PDI IJ            500 mg, ea        00469-2210-30       BB, MK            $7.00
    Hydrochloride             (VIAL)
      Vancomycin (Fujisawa) Lyphocin/PDI IJ              1 gm, ea        00469-2840-40       BB, MK           $13.00
    Hydrochloride             (VIAL)
      Vancomycin (Fujisawa) Lyphocin/PDI IJ              5 gm, ea        00469-2951-00          BB            $71.50
    Hydrochloride             (VIAL)
      Vancomycin (Fujisawa) Lyphocin/PDI IJ              1 gm, ea        63323-0284-20       BB, MK           $13.00
    Hydrochloride             (VIAL)
      Vancomycin (Fujisawa) Lyphocin/PDI IJ              5 gm, ea        63323-0295-41          BB            $71.50
    Hydrochloride             (VIAL)
      Vancomycin (Fujisawa) Lyphocin/PDI IJ             10 gm, ea        63323-0314-61         MK             $143.00
    Hydrochloride             (VIAL)
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                                                                                               13
  Vancomycin     (Fujisawa) Lyphocin/PDI IJ     500 mg, ea      63323-2210-30       BB, MK           $7.00
 Hydrochloride             (VIAL)
  Vancomycin         (Lederle Std. Prod.)        5 gm, ea       00205-3154-05       MK, BB          $45.09
 Hydrochloride      Vancoled/PDI INJ, IJ
  Vancomycin         (Lederle Std. Prod.)      1 gm, 10s, ea    00205-3154-15       MK, BB           $9.02
 Hydrochloride      Vancoled/PDI INJ, IJ
  Vancomycin         (Lederle Std. Prod.)     500 mg, 10s, ea   00205-3154-88       MK, BB           $4.51
 Hydrochloride      Vancoled/PDI INJ, IJ
  Vancomycin      (Schein)/PDI, IJ (M.D.V.)    1 gm, 10s, ea    00364-2473-91        OTN            $12.90
 Hydrochloride
  Vancomycin      (Schein)/PDI, IJ (S.D.V.)   500 mg, 10s, ea   00364-2472-33         MK             $3.84
 Hydrochloride
    Winrho SDF    (Nabi) rho (d) immune         5000 iu, ea     60492-0024-01   ASD, FI, OTN, OS    $505.56
                     globulin/ (VIAL)
    Winrho SDF    (Nabi) rho (d) immune         600 iu, ea      60492-0021-01     ASD,FI, OS        $64.96
                  globulin/PDI, IJ (S.D.V.)
    Winrho SDF    (Nabi) rho (d) immune         1500 iu, ea     60492-0023-01   ASD, FI, OTN, OS    $152.30
                  globulin/PDI, IJ (S.D.V.)
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Wholesaler Information


ASD = ASD Specialty Healthcare (1-800-746-6273)
BB = Bergen Brunswig (1-800-746-6273)
FI = Florida Infusion (1-800-624-0152)
MK = McKesson (1-888-782-6156)
OS = Oncology Supply (1-800-633-7555)
OTN = Oncology Therapeutics Network (1-800-482-6700)
TRI = Triad Medical (1-800-999-8633)
ANDA = ANDA (1-800-331-2632)
Biomed Plus 3/99 = Biomed Plus, Inc. (1-800-809-2308)
FFF = FFF Enterprises (1-800-843-7477)
Bayer Wholesale = Bayer Wholesale (1-203-812-2000)
Health Coalition = Health Coalition (1-800-456-7283)
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Attachment 2 – Do not use these data to update the HCPCS billing codes that
correspond to the drugs on this list. Instead, use your usual source for average
wholesale prices.

          Drug Name            Prod/Mfr             Measurements          NDC          Wholesaler    Average
                                                                                                     Wholesale
                                                                                                      (AWP)
       Anti-Inhibitor (NABI) AutoPlex T/PDI, IJ          ea           59730-6059-07   Biomed Plus      1.06
 Coagulant Complex       (390-1050 FECU)                                                 3/99
 Anzemet/Dolasetron (Hoechst Marion)/INJ, IJ        20 mg/ml, 5 ml    00088-1206-32       OS          $74.08
           Mesylate              (VIAL)
    Bleomycin Sulfate (Bristol-Myer Onc/Imm)           15 u, ea       00015-3010-20    FI, OS, ASD    $255.39
                       Blexonane/PDI, IJ (VL)
    Bleomycin Sulfate (Bristol-Myer Onc/Imm)           30 u, ea       00015-3063-01      FI, OS       $509.29
                       Blexonane/PDI, IJ (VL)
    Bleomycin Sulfate (Pharmacia/Upjohn)/PD            15 u, ea       00013-1616-78    ASD, FI, OS    $158.67
                              I, IJ (VIAL)
    Bleomycin Sulfate (Pharmacia/Upjohn)/PD            30 u, ea       00013-1636-86    ASD, FI, OS    $322.00
                              I, IJ (VIAL)
           Cisplatin         (APP)/INJ, IJ          1 mg/ml, 50 mg,   63323-0103-51      OS, FI       $150.98
                                                         50 ml
            Cisplatin        (APP)/INJ, IJ         1 mg/ml, 200 mg,   63323-0103-64      OS, FI       $603.50
                                                        200 ml
            Cisplatin        (APP)/INJ, IJ         1 mg/ml, 100 mg,   63323-0103-65      OS, FI       $301.50
                                                        100 ml
   Cyclophospamide (Bristol-Myer Onc/Imm)             100 mg, ea      00015-0539-41   ASD, OS, OTN     $4.18
                            Cytoxan
                      Lyophilized/PDI, IJ
                             (VIAL)
   Cyclophospamide (Bristol-Myer Onc/Imm)            200 mg, ea       00015-0546-41   ASD, OS, OTN     $7.03
                            Cytoxan
                      Lyophilized/PDI, IJ
                             (VIAL)
   Cyclophospamide (Bristol-Myer Onc/Imm)            500 mg, ea       00015-0547-41   ASD, OS, OTN    $11.59
                            Cytoxan
                      Lyophilized/PDI, IJ
                             (VIAL)
   Cyclophospamide (Bristol-Myer Onc/Imm)              1gm, ea        00015-0548-41   ASD, OS, OTN    $23.19
                            Cytoxan
                      Lyophilized/PDI, IJ
                             (VIAL)
   Cyclophospamide (Bristol-Myer Onc/Imm)              2 gm, ea       00015-0549-41   ASD, OS, OTN    $45.83
                            Cytoxan
                      Lyophilized/PDI, IJ
                             (VIAL)
   Cyclophospamide   (Pharmacia/Upjohn)              100 mg, ea       00013-5606-93 ASD, OTN, OS,      $3.92
                    Neosar/PDI, IJ, (S.D.V.)                                              FI
   Cyclophospamide       (Pharmacia/Upjohn)          200 mg, ea       00013-5616-93  ASD, FI, OS,      $5.06
                        Neosar/PDI, IJ, (S.D.V.)                                         OTN
   Cyclophospamide       (Pharmacia/Upjohn)          500 mg, ea       00013-5626-93  ASD, FI, OS,      $7.33
                        Neosar/PDI, IJ, (S.D.V.)                                         OTN
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                                                                                                     16
Cyclophospamide     (Pharmacia/Upjohn)           1 gm, ea         00013-5636-70    ASD, FI, OTN,    $11.24
                   Neosar/PDI, IJ, (S.D.V.)                                            OS
Cyclophospamide     (Pharmacia/Upjohn)           2 gm, ea         00013-5646-70    ASD, FI, OTN,    $21.60
                   Neosar/PDI, IJ, (S.D.V.)                                            OS
     Cytarabine (Bedford)/PDI, IJ (VIAL)        100 mg, ea        55390-0131-10   ASD,OS, FI, MK,    $3.55
                                                                                     BB, OTN
     Cytarabine (Bedford)/PDI, IJ (VIAL)        500 mg, ea        55390-0132-10     ASD,OS, FI,     $11.46
                                                                                   OTN, MK, BB
     Cytarabine (Bedford)/PDI, IJ (VIAL)         1 gm, ea         55390-0133-01     ASD,OS, FI,     $23.64
                                                                                   OTN, MK, BB
     Cytarabine (Bedford)/PDI, IJ (VIAL)         2 gm, ea         55390-0134-01     ASD,OS, FI,     $47.94
                                                                                   OTN, BB, MK
     Cytarabine   (Bedford)/PDI, IJ (VIAL)      100 mg, ea        55390-0806-10        BB           $3.50
     Cytarabine   (Bedford)/PDI, IJ (VIAL)      500 mg, ea        55390-0807-10        BB           $10.50
     Cytarabine   (Bedford)/PDI, IJ (VIAL)        1 gm, ea        55390-0808-01        BB           $22.00
     Cytarabine   (Bedford)/PDI, IJ (VIAL)        2 gm, ea        55390-0809-01        BB           $44.00
     Cytarabine      (Faulding)/INJ, IJ          (P.F., BULK      61703-0303-50      BB, MK         $39.00
                        (S.D.V.,P.F.)          PACKAGE) 20
                                               mg/ml, 50 ml
     Cytarabine      (Faulding)/INJ, IJ       20 mg/ml, 25 ml     61703-0304-25 ASD, BB, FI, OS     $12.63
                        (S.D.V.,P.F.)
     Cytarabine      (Faulding)/INJ, IJ       20 mg/ml, 5 ml      61703-0305-09     BB, MK, FI       $4.62
                        (S.D.V.,P.F.)            (M.D.V.)
     Cytarabine    (Pharmacia/Upjohn)           100 mg, ea        00009-0373-01   ASD, OS, OTN,      $4.06
                     Cytosar-U/PDI, IJ                                               FI, MK
                         (M.D.V.)
     Cytarabine    (Pharmacia/Upjohn)           500 mg, ea        00009-0473-01   ASD, OS, OTN,     $13.18
                     Cytosar-U/PDI, IJ                                               FI, MK
                         (M.D.V.)
     Cytarabine    (Pharmacia/Upjohn)         30 ml vial, 1 gm,   00009-3295-01   ASD, OS, OTN,     $25.11
                     Cytosar-U/PDI, IJ               ea                              FI, MK
                         (M.D.V.)
     Cytarabine    (Pharmacia/Upjohn)            2 gm, ea         00009-3296-01   ASD, OS, OTN,     $49.82
                     Cytosar-U/PDI, IJ                                               FI, MK
                         (M.D.V.)
     Cytarabine (Schein)/PDI, IJ (M.D.V.)       100 mg, ea        00364-2467-53      BB, MK          $4.16
     Cytarabine (Schein)/PDI, IJ (M.D.V.)       500 mg, ea        00364-2468-54    BB, MK, OTN       $12.14
     Doxorubicin (Bedford)/INJ, IJ (M.D.V)    2 mg/ml, 100 ml     55390-0238-01      FI, OTN        $139.75
   Hydrochloride
     Doxorubicin (Bedford)/INJ, IJ (S.D.V)     2 mg/ml, 5 ml      55390-0235-10       FI, OTN       $10.35
   Hydrochloride
     Doxorubicin (Bedford)/INJ, IJ (S.D.V)         10 ml          55390-0236-10       FI, OTN       $20.20
   Hydrochloride
     Doxorubicin (Bedford)/INJ, IJ (S.D.V)         25 ml          55390-0237-01     FI, OTN, OS     $37.97
   Hydrochloride
     Doxorubicin (Bedford)/PDI, IJ (S.D.V)         10 mg          55390-0231-10       FI, OTN        $9.68
   Hydrochloride
     Doxorubicin (Bedford)/PDI, IJ (S.D.V)         20 mg          55390-0232-10       FI, OTN       $18.48
   Hydrochloride
     Doxorubicin (Bedford)/PDI, IJ (S.D.V)       50 mg, ea        55390-0233-01     FI, OTN, OS     $35.92
   Hydrochloride
     Doxorubicin (Fujisawa/APP)/(VIAL)        2 mg/ml, 100 ml     00469-1001-61        ASD          $140.00
   Hydrochloride
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                                                                                               17
   Doxorubicin (Fujisawa/APP)/(VIAL)        2 mg/ml, 100 ml   63323-0101-61       OS          $117.17
 Hydrochloride
   Doxorubicin (Fujisawa/APP)/INJ, IJ        2 mg/ml, 5 ml    00469-8830-20       OS           $7.35
 Hydrochloride       (S.D.V., P.F.)
   Doxorubicin (Fujisawa/APP)/INJ, IJ            10 ml        00469-8831-30       OS          $14.70
 Hydrochloride       (S.D.V., P.F.)
   Doxorubicin (Fujisawa/APP)/INJ, IJ            25 ml        00469-8832-50       ASD         $35.00
 Hydrochloride       (S.D.V., P.F.)
   Doxorubicin (Fujisawa/APP)/INJ, IJ        2 mg/ml, 5 ml    63323-0883-05       OS           $7.35
 Hydrochloride       (S.D.V., P.F.)
   Doxorubicin (Fujisawa/APP)/INJ, IJ            10 ml        63323-0883-10       OS          $14.70
 Hydrochloride       (S.D.V., P.F.)
   Doxorubicin (Fujisawa/APP)/INJ, IJ            25 ml        63323-0883-30       ASD         $34.00
 Hydrochloride       (S.D.V., P.F.)
   Doxorubicin    (Gensia)/(M.D.V.          2 mg/ml, 100 ml   00703-5040-01     ASD, OS       $142.00
 Hydrochloride        POLYMER)
   Doxorubicin (Gensia)/INJ, IJ (S.D.V.      2 mg/ml, 5 ml    00703-5043-03   ASD, OS, BB     $12.63
 Hydrochloride        POLYMER)
   Doxorubicin (Gensia)/INJ, IJ (S.D.V.          25 ml        00703-5046-01     ASD, OS       $35.50
 Hydrochloride        POLYMER)
   Doxorubicin  (Pharmacia/Upjohn)          2 mg/ml, 100 ml   00013-1166-83   ASD, OS, FI,    $150.86
 Hydrochloride Adriamycin/(M.D.V. P.F.)                                          OTN
   Doxorubicin    (Pharmacia/Upjohn)          150 mg, ea      00013-1116-83   ASD, OS, FI,    $113.75
 Hydrochloride    Adriamycin/(M.D.V.)                                            OTN
   Doxorubicin    (Pharmacia/Upjohn)         2 mg/ml, 5 ml    00013-1136-91   ASD, OS, FI,     $8.49
 Hydrochloride   Adriamycin/PFS INJ, IJ                                          OTN
                       (VIAL, P.F.)
   Doxorubicin    (Pharmacia/Upjohn)             10 ml        00013-1146-91   ASD,OS, FI,     $16.74
 Hydrochloride   Adriamycin/PFS INJ, IJ                                         OTN
                       (VIAL, P.F.)
   Doxorubicin    (Pharmacia/Upjohn)             25 ml        00013-1156-79   ASD, FI, OTN    $37.80
 Hydrochloride   Adriamycin/PFS INJ, IJ
                       (VIAL, P.F.)
   Doxorubicin    (Pharmacia/Upjohn)           37.500 ml      00013-1176-87   ASD, FI, OTN,   $59.59
 Hydrochloride   Adriamycin/PFS INJ, IJ                                           OS
                       (VIAL, P.F.)
   Doxorubicin    (Pharmacia/Upjohn)          10 mg, ea       00013-1086-91   ASD, FI, OTN,    $8.24
 Hydrochloride   Adriamycin/RDF PDI, IJ                                            OS
   Doxorubicin    (Pharmacia/Upjohn)          50 mg, ea       00013-1106-79   ASD, OS, FI,    $37.15
 Hydrochloride   Adriamycin/RDF PDI, IJ                                           OTN
    Etoposide         (Bedford)/INJ, IJ     20 mg/ml, 5 ml    55390-0291-01      FI, OS        $8.45
                          (M.D.V.)
    Etoposide         (Bedford)/INJ, IJ          25 ml        55390-0292-01      FI, OS       $45.13
                          (M.D.V.)
    Etoposide         (Bedford)/INJ, IJ          50 ml        55390-0293-01      OS, FI       $87.43
                          (M.D.V.)
    Etoposide    (Bristol-Myer Onc/Imm)         7.5 ml        00015-3084-20       OS          $51.45
                 Vepesid/INJ, IJ (M.D.V.)
    Etoposide    (Bristol-Myer Onc/Imm)     20 mg/ml, 5 ml    00015-3095-20       OS          $34.30
                 Vepesid/INJ, IJ (M.D.V.)
    Etoposide          (Gensia)/(BULK       20 mg/ml, 50 ml   00703-5668-01     ASD, OS       $78.63
                         PACKAGE)
    Etoposide        (Gensia)/(M.D.V.)      20 mg/ml, 25 ml   00703-5646-01     ASD, OS       $40.00
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                                                                                                18
    Etoposide (Gensia)/INJ, IJ (M.D.V.       20 mg/ml, 5 ml   00703-5653-01     ASD, OS         $7.00
                        POLYMER)
    Etoposide     (Pharmacia/Upjohn)         20 mg/ml, 5 ml   00013-7336-91    ASD,OS, FI       $9.47
                 Toposar/INJ, IJ (M.D.V.)
    Etoposide     (Pharmacia/Upjohn)             10 ml        00013-7346-94    ASD,OS, FI       $19.00
                 Toposar/INJ, IJ (M.D.V.)
    Etoposide     (Pharmacia/Upjohn)             25 ml        00013-7356-88    ASD,OS,FI        $44.00
                 Toposar/INJ, IJ (M.D.V.)
     Factor IX          (Centeon)               1 iu, ea      00053-7668-01     ASD 3/99        $0.79
                   Mononine/Factor IX
                 Coagulation Factor PDI,
                              IJ
     Factor IX          (Centeon)               1 iu, ea      00053-7668-02     ASD 3/99        $0.79
                   Mononine/Factor IX
                 Coagulation Factor PDI,
                              IJ
     Factor IX          (Centeon)               1 iu, ea      00053-7668-04     ASD 3/99        $0.79
                   Mononine/Factor IX
                 Coagulation Factor PDI,
                              IJ
     Factor IX        (Genetics Inst.)          1 iu, ea      58394-0001-01     ASD 2/00        $0.81
                     Benefix/Factor IX
                 Coagulation Factor PDI,
                IJ (S.D.V. w/diluent, 1000
                             iu)
     Factor IX        (Genetics Inst.)          1 iu, ea      58394-0002-01     ASD 2/00        $0.81
                     Benefix/Factor IX
                 Coagulation Factor PDI,
                IJ (S.D.V. w/diluent, 1000
                             iu)
     Factor IX        (Genetics Inst.)          1 iu, ea      58394-0003-01     ASD 2/00        $0.81
                     Benefix/Factor IX
                 Coagulation Factor PDI,
                IJ (S.D.V. w/diluent, 1000
                             iu)
    Factor VIII (Baxter Hyland/Immuno)          1 iu, ea      00944-2938-01   Biomed Plus,      $0.92
                    Recombinate/anti-                                         all sizes, 3/99
                    hemophilic factor,
                 human PDI, IJ (approx.
                       1000 iu/Vial)
    Factor VIII (Baxter Hyland/Immuno)          1 iu, ea      00944-2938-02   Biomed Plus,      $0.92
                    Recombinate/anti-                                         all sizes, 3/99
                    hemophilic factor,
                 human PDI, IJ (approx.
                       1000 iu/Vial)
    Factor VIII (Baxter Hyland/Immuno)          1 iu, ea      00944-2938-03   ASD, all sizes    $0.78
                    Recombinate/anti-                                            3/99
                    hemophilic factor,
                 human PDI, IJ (approx.
                       1000 iu/Vial)
    Factor VIII   (Bayer Pharm) Koate           1 iu, ea      00026-0664-50   ASD all sizes     $0.42
                    HP/anti-hemophilic                                           3/99
                   factor, human PDI, IJ
                  (approx 1000 u/Vial)
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                                                                                               19
     Factor VIII   (Bayer Pharm) Koate         1 iu, ea      00026-0664-60    ASD all sizes    $0.42
                    HP/anti-hemophilic                                           3/99
                   factor, human PDI, IJ
                   (approx 1500 u/Vial)
     Factor VIII   (Bayer Pharm) Koate         1 iu, ea      00026-0664-20    ASD all sizes    $0.42
                    HP/anti-hemophilic                                           3/99
                   factor, human PDI, IJ
                    (approx 250 u/Vial)
     Factor VIII   (Bayer Pharm) Koate         1 iu, ea      00026-0664-30    ASD all sizes    $0.42
                    HP/anti-hemophilic                                           3/99
                   factor, human PDI, IJ
                    (approx 500 u/Vial)
     Factor VIII      (Bayer Pharm)            1 iu, ea      00026-0670-20   Biomed Plus,      $0.92
                      Kogenate/anti-                                         all sizes, 3/99
                     hemophilic factor,
                    recombinant PDI, IJ
     Factor VIII      (Bayer Pharm)            1 iu, ea      00026-0670-30   Biomed Plus,      $0.92
                      Kogenate/anti-                                         all sizes, 3/99
                     hemophilic factor,
                    recombinant PDI, IJ
     Factor VIII      (Bayer Pharm)            1 iu, ea      00026-0670-50   Biomed Plus,      $0.92
                      Kogenate/anti-                                         all sizes, 3/99
                     hemophilic factor,
                    recombinant PDI, IJ
     Factor VIII (Centeon) Bioclate/anti-      1 iu, ea      00053-8110-01   Biomed Plus,      $0.91
                     hemophilic factor,                                      all sizes 3/99
                    recombinant PDI, IJ
     Factor VIII (Centeon) Bioclate/anti-      1 iu, ea      00053-8110-02 (unit) FFF, 8/99    $0.86
                     hemophilic factor,
                    recombinant PDI, IJ
     Factor VIII (Centeon) Bioclate/anti-      1 iu, ea      00053-8110-04   ASD, all sizes    $0.78
                     hemophilic factor,                                         3/99
                    recombinant PDI, IJ
     Factor VIII (Centeon) Helixate/anti-      1 iu, ea      00053-8120-01   ASD, all sizes    $0.78
                     hemophilic factor,                                         3/99
                    recombinant PDI, IJ
     Factor VIII (Centeon) Helixate/anti-      1 iu, ea      00053-8120-02 (unit) FFF, 8/99    $0.86
                     hemophilic factor,
                    recombinant PDI, IJ
     Factor VIII (Centeon) Helixate/anti-      1 iu, ea      00053-8120-04   Biomed Plus,      $0.91
                     hemophilic factor,                                      all sizes 3/99
                    recombinant PDI, IJ
     Factor VIII (Centeon) Monoclate-          1 iu, ea      00053-7656-01    ASD all sizes    $0.70
                 P/anti-hemophilic factor,                                       2/00
                       human PDI, IJ
     Factor VIII (Centeon) Monoclate-          1 iu, ea      00053-7656-02    ASD all sizes    $0.70
                 P/anti-hemophilic factor,                                       2/00
                       human PDI, IJ
     Factor VIII (Centeon) Monoclate-          1 iu, ea      00053-7656-04    ASD all sizes    $0.70
                 P/anti-hemophilic factor,                                       2/00
                       human PDI, IJ
   Fluorouracil (Fujisawa/APP)/INJ, IJ     50 mg/ml, 10 ml   63323-0117-10       OS, FI        $1.20
                           (VIAL)
   Fluorouracil (Fujisawa/APP)/INJ, IJ        1gm, 20 ml     63323-0117-20       OS, FI        $2.60
                           (VIAL)
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                                                                                                        20
         Fluorouracil    (Fujisawa/APP)/INJ, IJ      2.5 gm, 50 ml     63323-0117-51      OS, FI        $6.00
                                 (VIAL)
         Fluorouracil    (Fujisawa/APP)/INJ, IJ      5 gm, 100 ml      63323-0117-61      OS, FI       $11.00
                                 (VIAL)
         Fluorouracil     (Pharmacia/Upjohn)        50 mg/ml, 10 ml    00013-1036-91   ASD,OS, OTN,     $1.47
                          Adrucil/INJ, IJ (VIAL)                                            FI
         Fluorouracil    (Pharmacia/Upjohn)              50 ml         00013-1046-94   ASD, OTN, FI     $8.15
                         Adrucil/INJ, IJ (VIAL)
         Fluorouracil    (Pharmacia/Upjohn)             100 ml         00013-1056-94   ASD, OTN, FI,   $14.44
                         Adrucil/INJ, IJ (VIAL)                                              OS
                Kytril       (SK Beecham             1 mg/ml, 1 ml     00029-4149-01    FI, OS, OTN,   $139.04
                         Pharm.)/INJ, IJ (S.D.V.)                                           ASD
                Kytril       (SK Beecham             1 mg/ml, 4 ml     00029-4152-01   FI, OTN, ASD,   $555.67
                         Pharm.)/INJ, IJ (S.D.V.)                                            OS
 Leucovorin Calcium      (Abbott Hosp.)/(VIAL,      10 mg/ml, 25 ml    00074-4541-04   FI, OTN, ASD,    $8.56
                            FLIPTOP 30 ML)                                                   OS
 Leucovorin Calcium  (Abbott Hosp.)/INJ, IJ         10mg/ml, 10ml      00074-4541-02    FI, OTN, OS     $3.85
                        (VIAL, FLIPTOP)
 Leucovorin Calcium (Bedford)/PDI, IJ (VIAL)         50 mg, 10s ea     55390-0051-10   FI, OTN, ASD,    $2.76
                                                                                             OS
 Leucovorin Calcium (Bedford)/PDI, IJ (VIAL)        100 mg, 10s ea     55390-0052-10   FI, OTN, ASD,    $3.24
                                                                                             OS
 Leucovorin Calcium (Bedford)/PDI, IJ (VIAL)          200 mg, ea       55390-0053-01   FI, OTN, ASD,    $8.19
                                                                                             OS
 Leucovorin Calcium   (Gensia)/PDI, IJ (P.F.          100 mg, ea       00703-5140-01   OTN, ASD, OS     $3.49
                             VIAL)
 Leucovorin Calcium   (Gensia)/PDI, IJ (P.F.          350 mg, ea       00703-5145-01   OTN, ASD, OS    $15.83
                             VIAL)
 Leucovorin Calcium (Immunex)/PDI, IJ (P.F.)           350 mg, ea      58406-0623-07   OTN, FI, OS     $14.58
Methotrexate Sodium (Bedford)/INJ, IJ (S.D.V.)      25 mg/ml, 2 ml,    55390-0031-10   ASD, OTN, FI    $2.63
                                                           ea
Methotrexate Sodium (Bedford)/INJ, IJ (S.D.V.)      25 mg/ml, 4 ml,    55390-0032-10   ASD, OTN, FI     $3.65
                                                           ea
Methotrexate Sodium (Bedford)/INJ, IJ (S.D.V.)      25 mg/ml, 8 ml,    55390-0033-10   ASD, OTN, FI     $5.03
                                                           ea
Methotrexate Sodium (Bedford)/INJ, IJ (S.D.V.)      25 mg/ml, 10 ml,   55390-0034-10   ASD, OTN, FI     $5.70
                                                           ea
Methotrexate Sodium      (Immunex) LPF/INJ, IJ       25 mg/ml, 8 ml    58406-0683-12  ASD, OS, OTN,     $5.84
                             (S.D.V., P.F.)                                                  FI
Methotrexate Sodium      (Immunex) LPF/INJ, IJ      25 mg/ml, 2 ml     58406-0683-15 ASD, ASD, OS,      $2.91
                             (S.D.V., P.F.)                                                  FI
Methotrexate Sodium      (Immunex) LPF/INJ, IJ      25 mg/ml, 10 ml    58406-0683-16 ASD, OTN, FI,      $7.10
                             (S.D.V., P.F.)                                                 OS
Methotrexate Sodium   (Immunex) LPF/INJ, IJ         25 mg/ml, 4 ml     58406-0683-18 FI, MK, OTN, OS    $4.32
                          (S.D.V., P.F.)
Methotrexate Sodium (Immunex)/INJ, IJ (VIAL,        25 mg/ml, 2 ml     58406-0681-14   ASD,OS, OTN,     $3.43
                             L.P.P.)                                                        FI
Methotrexate Sodium      (Immunex)/PDI, IJ             1 gm, ea        58406-0671-05   OS, OTN, MK     $45.97
                               (S.D.V.)
   Vinblastine Sulfate (Bedford)/PDI, IJ (VIAL)        10 mg, ea       55390-0091-10   ASD, OS, OTN,    $8.19
                                                                                            FI
   Vinblastine Sulfate (Faulding)/INJ, IJ (VIAL)       10 mg, ea       61703-0310-18       ASD          $7.95
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                                                                                                       21
Vinblastine Sulfate      (Fujisawa/APP)            1 mg/ml, 10 ml   00469-2780-30       ASD, OS       $9.00
Vinblastine Sulfate      (Fujisawa/APP)            1 mg/ml, 10 ml   63323-0278-10        OTN, FI      $10.93
 Vincristine Sulfate (Faulding)/INJ, IJ (S.D.V.,   1 mg/ml, 1 ml    61703-0309-06   ASD, OS, OTN,     $4.34
                               P.F.)                                                       FI
Vincristine Sulfate (Faulding)/INJ, IJ (S.D.V.,    1 mg/ml, 2 ml    61703-0309-16   ASD,OS, OTN,       $7.60
                              P.F.)                                                        FI
Vincristine Sulfate    (Pharmacia/Upjohn)          1 mg/ml, 1 ml    00013-7456-86   ASD, OTN, FI,      $5.10
                      Vincasar/INJ, IJ (VIAL)                                             OS
Vincristine Sulfate    (Pharmacia/Upjohn)          1 mg/ml, 2 ml    00013-7466-86   ASD, OTN, FI,      $8.35
                      Vincasar/INJ, IJ (VIAL)                                             OS
             Zofran      (Cerenex)/INJ, IJ         2 mg/ml, 20 ml   000173-0442-    FI, OTN, ASD,     $169.06
                             (M.D.V.)                                    00               OS
             Zofran      (Cerenex)/INJ, IJ         30 mg/50ml, 50   000173-0461-    FI, OTN, FI, OS   $128.09
                          (PREMIXED BAG)                 ml              00
             Zofran      (Cerenex)/INJ, IJ          2 mg/ml, 2 ml   000173-0442-     FI, OTN, OS      $22.61
                              (S.D.V.)                                   02
